 

 

 

DEFENDANT’S NAME: PAVEL BABICHENKO JUVENILE:
DEFENSE ATTORNEY:
Address: PUBLIC or SEALED: Public
SERVICE TYPE: Notice
(Summons or Warrant or
Notice (if Superseding))
Telephone No.: ISSUE:
INVESTIGATIVE AGENT; Christopher Sheehan, INTERPRETER:
Special Agent, FBI
Telephone No.: If YES, language:
AGENCY:
CASE INFORMATION: RELATED COMPLAINT:
Conspiracy to Traffic in Counterfeit Goods; Wire Fraud; CASE NUMBER: 1:18-cr-00258-BLW
Mail Fraud; Money Laundering Conspiracy.

 

 

 

 

CHARGING

 

 

 

DOCUMENT: Superseding Indictment
Felony: Yes County of Offense: Ada County
Class A Misdemeanor: Estimated Trial Time: Fifteen Days

Class B or C Misdemeanor:

 

 

 
   

Up to 20 years

18 U.S.C. § 1349 ONE Conspiracy to Commit |imprisonment; up to
18 U.S.C. § 1343 Wire Fraud $250,000 fine; up to five

years supervised release;
$100 special assessment
Up to 10 years
18 U.S.C. § 2320 TWENTY Conspiracy to Traffic in | imprisonment; up to a
Counterfeit Goods $5,000,000 fine; up to 3
years Supervised Release;
$100 Special Assessment
Up to 10 years
18 U.S.C. § 2320 TWENTY-ONE Trafficking in imprisonment; up to a
TWENTY-TWO Counterfeit Goods $5,000,000 fine; up to 3
TWENTY-THREE years Supervised Release;
$100 Special Assessment

U.S. COURTS

 

 

 

 

 

 

 

 

STEPHEN W. ENON —
LERK, DISTRICT OF IDAHO

 
 

Up to 20 years
imprisonment; up to a

 

 

 

 

 

 

 

 

 

18 U.S.C. § 1956(h) THIRTY-FIVE Money Laundering _| $500,000 fine or twice the
Conspiracy value of the property
involved in transaction; up
to 5 years supervised
release; $100 special
assessment.
Up to 20 years
imprisonment; up to a
18 U.S.C. THIRTY-SIX Money Laundering $500,000 fine or twice the
§ 1956(a)(1) (BW THIRTY-NINE value of the property
FORTY-FOUR involved in transaction; up
FORTY-FIVE to 5 years supervised
release; $100 special
assessment.
18 U.S.C. § 2323
21 U.S.C, § 853 FORFEITURE Trafficking in Forfeiture of listed property
28 U.S.C. § 2461(c) Counterfeit Devices
18 U.S.C. § 981(a)(LI)(C)
18 U.S.C. § 982(a)(1) FORFEITURE Money Laundering Forfeiture of listed property
28 U.S.C. § 2461(c) Forfeiture
18 U.S.C. § 981(a)(1)(C) Mail and Wire Fraud
28 U.S.C. § 2461(c) FORFEITURE Forfeiture Forfeiture of listed property
Fungible Property
18 U.S.C. § 984 FORFEITURE Forfeiture Forfeiture of listed property

 

Date: Q5 { \y \ \q

 

Telephone No.:

Assistant U.S. Attorney: Katherine Horwitz)
208-334-1211

 

 

 
 
   

 

 

 

 

 

 

 

 

 

; _ GENNADY
DEFENDANT’S NAME: BABITCHENKO JUVENILE:
DEFENSE ATTORNEY:
Address: PUBLIC or SEALED: Public
SERVICE TYPE: Notice
(Summons or Warrant or
Notice (if Superseding)) U.S. COURTS
Telephone No.: ISSUE:
MAY 15 2019
‘ Revd___Filed_
INVESTIGATIVE AGENT; Christopher Sheehan, INTERPRETER: STEPHEN W.KEMOGT ——
Special Agent, FBI CLERK, DISTRICT OF IDAHO
Telephone No.: If YES, language:
AGENCY:

CASE INFORMATION: RELATED COMPLAINT:

Conspiracy to Traffic in Counterfeit Goods; Money CASE NUMBER: 1:18-cr-00258-BLW

Laundering Conspiracy.
CHARGING DOCUMENT: Superseding Indictment
Felony: Yes County of Offense: Ada County
Class A Misdemeanor: Estimated Trial Time: Fifteen days
Class B or C Misdemeanor:
(Petty Offense)

 

 

   
   

Up to 20 years
imprisonment; up to
18 U.S.C. § 1349 ONE Conspiracy to Commit | $250,000 fine; up to five
Wire Fraud years supervised release;
$100 special assessment
Up to 10 years
imprisonment; up to a
18 U.S.C. § 2320(a), (b)(1), TWENTY Conspiracy to Traffic | $5,000,000 fine; up to 3

(1) in Counterfeit Goods | years Supervised Release;

$100 Special Assessment
Up to 20 years
imprisonment; up to a
$500,000 fine or twice the
18 U.S.C. § 1956(h) THIRTY-FIVE Money Laundering _| value of the property
Conspiracy involved in transaction; up
to five years supervised
release; $100 special
assessment.

 

 

 

 

 

 

 

 

 
 

Up to 20 years
imprisonment; up to a

 

 

 

 

 

 

 

 

THIRTY-EIGHT $500,000 fine or twice the
18 U.S.C. § 1956(a)(1)(B)\@ | FORTY-THREE Money Laundering __| value of the property
18 U.S.C. §2 FORTY-SIX involved in transaction; up
to five years supervised
release; $100 special
assessment,
18 U.S.C. § 2323
21 U.S.C. § 853 FORFEITURE Trafficking in Forfeiture of listed property
28 U.S.C. § 2461(c) Counterfeit Devices
18 U.S.C. § 981(a)(1)(C)
18 U.S.C. § 982(a)(1) FORFEITURE Money Laundering _| Forfeiture of listed property
28 U.S.C. § 2461(c) Forfeiture
18 U.S.C. § 981(a)(1I)(C) Mail and Wire Fraud
28 U.S.C. § 2461(c) FORFEITURE Forfeiture Forfeiture of listed property
Fungible Property
18 U.S.C. § 984 FORFEITURE Forfeiture Forfeiture of listed property

 

Date: O9\\4 114

Assistant U.S. Attorney:

 

Telephone No.:

Katherine Horwitz {Lk
208-334-1211 Vv

 

 

 
 

 

DEFENDANT’S NAME: PIOTR BABICHENKO

JUVENILE:

 

 

 

 

 

Class A Misdemeanor:

Class B or C Misdemeanor:
(Petty Offense)

 

 

 

18 U.S.C. § 1349 ONE

Estimated Trial Time:

Conspiracy to Commit

DEFENSE ATTORNEY:
Address: PUBLIC or SEALED: Public
SERVICE TYPE: Notice
(Summons or Warrant or
Notice (if Superseding))
Telephone No.: ISSUHYy S COURTS
INVESTIGATIVE AGENT: Christopher Sheehan, INTERPRETER: MAY 1 201
Special Agent, FBI d_____Filed slime.
. EN W. KE
Telephone No.: If YES, language eer OF IDAHO
AGENCY:
CASE INFORMATION: RELATED COMPLAINT:
Conspiracy to Traffic in Counterfeit Goods; Wire Fraud, CASE NUMBER:
Mail Fraud; Money Laundering Conspiracy.
CHARGING DOCUMENT: Superseding Indictment
Felony: Yes County of Offense: Ada County

 

 

Fifteen days

 

   

Up to 20 years
imprisonment; up to
$250,000 fine; up to five
years supervised release;
$100 special assessment

Wire Fraud

 

18 U.S.C. § 1343 TEN

Up to 20 years
imprisonment; up to
$250,000 fine; up to five
years supervised release;
$100 special assessment

Wire Fraud

 

18 U.S.C. § 1341 NINETEEN

Up to 20 years
imprisonment; $250,000
fine; up to five years
supervised release; $100
special assessment

Mail Fraud

 

18 U.S.C. § 2320(a), (b)(1), TWENTY

()()

 

 

 

Conspiracy to Traffic
in Counterfeit Goods

Up to 10 years
imprisonment; up toa
$5,000,000 fine; up to 3
years Supervised Release;
$100 Special Assessment

 

 

 

 

 
 

Up to 10 years

18 U.S.C. § 2320(a), (b)(1) | TWENTY-SEVEN Trafficking in imprisonment; up toa
THIRTY-FOUR Counterfeit Goods | $5,000,000 fine; up to 3
years Supervised Release;
$100 Special Assessment

 

Up to 20 years
imprisonment; up to a
$500,000 fine or twice the
18 U.S.C. § 1956(h) THIRTY-FIVE Money Laundering _| value of the property
Conspiracy involved in transaction; up
to five years supervised
release; $100 special
assessment,

 

Up to 20 years
imprisonment; up to a
$500,000 fine or twice the
18 U.S.C. § 1956(a)(1)(B)\@ | FORTY-SEVEN Money Laundering _| value of the property
involved in transaction; up
to five years supervised
release; $100 special

 

 

 

 

 

 

 

assessment.
18 U.S.C. § 2323
21 U.S.C. § 853 FORFEITURE Trafficking in Forfeiture of listed property
28 U.S.C. § 2461(c) Counterfeit Devices
18 U.S.C. § 981(a)(1)(C)
18 U.S.C. § 982(a)(1) FORFEITURE Money Laundering | Forfeiture of listed property
28 U.S.C. § 2461(c) Forfeiture
18 U.S.C. § 981(a)(1)(C) Mail and Wire Fraud
28 U.S.C. § 2461(c) FORFEITURE Forfeiture Forfeiture of listed property
18 U.S.C. § 984 Fungible Property
FORFEITURE Forfeiture Forfeiture of listed property

 

 

 

 

Date: O5\\4\ 14 Assistant U.S. Attorney: Katherine Horwitad

Telephone No.: 208-334-1211

 

 
 

~ TIMOFEY

 

DEFENDANT’S NAME: BABICHENKO JUVENILE:
DEFENSE ATTORNEY:
Address: PUBLIC or SEALED: Public
SERVICE TYPE: Notice
(Summons or Warrant or
Notice (if Superse@jn$)) COURTS
Telephone No.: ISSUE:
MAY 15 2019
INVESTIGATIVE AGENT; Christopher Sheehan, INTERPREF JEN WKENVOG
Special Agent, FBI CLERK, DISTRICT OF IDAHO
Telephone No.: If YES, language:
AGENCY:
CASE INFORMATION: RELATED COMPLAINT:
Conspiracy to Traffic in Counterfeit Goods; Wire Fraud; CASE NUMBER: 1:18-cr-000258-BLW
Mail Fraud; Money Laundering Conspiracy.

 

 

 

CHARGING DOCUMENT: Superseding Indictment

Felony: Yes County of Offense: Ada County
Class A Misdemeanor: Estimated Trial Time: Fifteen days

 

 

Class B or C Misdemeanor:
(Petty Offense)

 

 

    

: Up to 20 years :
18 U.S.C. § 1349 ONE Conspiracy to Commit |imprisonment; up to
Wire Fraud $250,000 fine; up to five

years supervised release;
$100 special assessment
Up to 20 years
18 U.S.C. § 1343 FOUR Wire Fraud imprisonment; up to

18 U.S.C. § 2 $250,000 fine; up to five
SIX years supervised release;
$100 special assessment
Up to 20 years
18 U.S.C. § 1341 THIRTEEN Mail Fraud imprisonment; $250,000
fine; up to five years
FIFTEEN supervised release; $100
special assessment
Up to 10 years
18 U.S.C. § 2320 TWENTY Conspiracy to Traffic |imprisonment; up to a
in Counterfeit Goods | $5,000,000 fine; up to 3
years Supervised Release;
$100 Special Assessment

 

 

 

 

 

 

 

 

 

 
 

Up to 10 years

 

 

 

 

 

 

 

18 U.S.C. § 2320 TWENTY-FOUR | Conspiracy to Traffic |imprisonment; up to a
in Counterfeit Goods | $5,000,000 fine; up to 3
THIRTY years Supervised Release;
$100 Special Assessment
Up to 20 years
imprisonment; up to a
$500,000 fine or twice the
18 U.S.C. § 1956(h) THIRTY-FIVE Money Laundering _| value of the property
Conspiracy involved in transaction; up
to five years supervised
release; $100 special
assessment.
Up to 20 years
imprisonment; up toa
$500,000 fine or twice the
18 U.S.C. § 1956(a)(1)(B)(i) | THIRTY-SEVEN | Money Laundering _ | value of the property
18 U.S.C. § 2 FORTY involved in transaction; up
FORTY-ONE to five years supervised
FORTY-TWO release; $100 special
assessment.
18 U.S.C. § 2323
21 U.S.C. § 853 FORFEITURE Trafficking in Forfeiture of listed property
28 U.S.C. § 2461(c) Counterfeit Devices
18 U.S.C. § 981(a)(1)(C)
18 U.S.C. § 982(a)(1) FORFEITURE Money Laundering __| Forfeiture of listed property
28 U.S.C. § 2461(c) Forfeiture
18 U.S.C. § 981(a)(1)(C) Mail and Wire Fraud
28 U.S.C. § 2461(c) FORFEITURE Forfeiture Forfeiture of listed property
Fungible Property
18 U.S.C. § 984 FORFEITURE Forfeiture Forfeiture of listed property

 

 

 

 

Date: OD\IN MIG

Assistant U.S. Attorney: Katherine Horwitahe

 

Telephone No.:

208-334-11211 ,

 

 

 
 

 

” KRISTINA

 

 

DEFENDANT’S NAME: BABICHENKO JUVENILE:
DEFENSE ATTORNEY:
Address: PUBLIC or SEALED: PUBLIC
SERVICE TYPE: Notice
(Summons or Warrant or
Notice (if Superseding))
Telephone No.: ISSUE:
INVESTIGATIVE AGENT: Christopher Sheehan, INTERPRETER: No
Special Agent, FBI
Telephone No.: If YES, language:
AGENCY:
CASE INFORMATION: RELATED COMPLAINT:
Conspiracy to Traffic in Counterfeit Goods; Wire Fraud; CASE NUMBER: 1:18-cr-00258-BLW
Mail Fraud; Money Laundering Conspiracy; Money
Laundering. U.S. COURTS

 

 

     

 

 

EN W. KENYON
CHARGING DOCUMENT: Superseding Indictment CLERK, DISTRICT OF IDAHO
Felony: Yes County of Offense: Ada County
Class A Misdemeanor: Estimated Trial Time: Fifteen days

Class B or C Misdemeanor:
(Petty Offense)

   
 
   

18 U.S.C. § 1349

 

Up to 20 years
imprisonment; up to
$250,000 fine; up to five
years supervised release;
$100 special assessment

Conspiracy to
Commit Wire Fraud

 

18 U.S.C. § 1343 FOUR

Up to 20 years
imprisonment; up to
$250,000 fine; up to five
years supervised release;
$100 special assessment

Wire Fraud

 

18 U.S.C. § 1341 THIRTEEN

Up to 20 years
imprisonment; up to
$250,000 fine; up to five
years supervised release;
$100 special assessment

Mail Fraud

 

 

18 U.S.C. § 2320(a), (b)(1), TWENTY

()()

 

 

Up to 10 years
imprisonment; up to a
$5,000,000 fine; up to 3
years Supervised Release;
$100 Special Assessment

Conspiracy to
Traffic in
Counterfeit Goods

 

 

 

 

 
 

Up to 10 years

 

 

 

 

 

 

 

 

 

 

 

18 U.S.C. § 2320(a), (b)(1) THIRTY Trafficking in imprisonment; up to a
Counterfeit devices | $5,000,000 fine; up to 3
years Supervised Release;
$100 Special Assessment
Up to 20 years
imprisonment; up to a
18 U.S.C. § 1956(h) THIRTY-FIVE | Money Laundering | $500,000 fine or twice the
Conspiracy value of the property
involved in transaction; up
to five years supervised
release; $100 special
assessment.
Up to 20 years
imprisonment; up to a
18 U.S.C. § 1956(a)(1)(B)(i) =| THIRTY-SEVEN | Money Laundering | $500,000 fine or twice the
FORTY-ONE value of the property
FORTY-TWO involved in transaction; up
to five years supervised
release; $100 special
assessment.
18 U.S.C. § 2323
21 U.S.C. § 853 FORFEITURE Trafficking in Forfeiture of listed property
28 U.S.C. § 2461(c) Counterfeit Devices
18 U.S.C. § 981(a)(1)(C)
18 U.S.C. § 982(a)(1) FORFEITURE | Money Laundering | Forfeiture of listed property
28 U.S.C. § 2461(c) Forfeiture
18 U.S.C. § 981(a)(1)(C) Mail and Wire
28 U.S.C. § 2461(c) FORFEITURE Fraud Forfeiture | Forfeiture of listed property
Fungible Property
18 U.S.C. § 984 FORFEITURE Forfeiture Forfeiture of listed property
Date: oS\ ey | 19 Assistant U.S. Attorney: Katherine Horwitzafh*

 

Telephone No.:

208-334-1211

 

 

 
 
   

 

 

   

, NATALYA
DEFENDANT’S NAME: BABICHENKO JUVENILE:
DEFENSE ATTORNEY:
Address: PUBLIC or SEALED: Public
SERVICE TYPE: Notice
(Summons or Warrant or
Notice (if Superseding))
Telephone No.: ISSUE:
INVESTIGATIVE AGENT: Christopher Sheehan, INTERPRETER:
Special Agent, FBI
Telephone No.: If YES, language:
AGENCY:
CASE INFORMATION: RELATED COMPLAINT:
Conspiracy to Traffic in Counterfeit Goods; Money CASE NUMBER: 1:18-cr-00258-BLW
Laundering Conspiracy; Money Laundering.

 

 

Felony: Yes
Class A Misdemeanor:

Class B or C Misdemeanor:
(Petty Offen:

 

 

 

   
   

18 U.S.C. § 1349 ONE

CHARGING DOCUMENT: Superseding Indictment

 

_U.S. COURTS

    
   

Filed. 7
STEPHEN WKER Oo

NYON
CLER
County of Offense: Ada County ocr OF IDAHO

Estimated Trial Time: Fifteen days

Cv

 

 

 

Up to 20 years
Conspiracy to Commit |imprisonment; up to
Wire Fraud $250,000 fine; up to five
years supervised release;
$100 special assessment

 

18 U.S.C. § 2320(a), (b)(1), TWENTY

()@)

Up to 10 years
imprisonment; up to a
$5,000,000 fine; up to 3
years Supervised Release;
$100 Special Assessment

Conspiracy to Traffic
in Counterfeit Goods

 

18 U.S.C. § 1956(h) THIRTY-FIVE

 

 

 

Up to 20 years
imprisonment; up to a
$500,000 fine or twice the
value of the property
involved in transaction; up
to five years supervised
release; $100 special
assessment,

Money Laundering
Conspiracy

 

 

 

 
 

 

 

 

 

 

 

 

 

 

 

t

Up to 20 years
imprisonment; up to a
18 U.S.C. § 1956(a)(1)(B)\@) | FORTY-FOUR Money Laundering | $500,000 fine or twice the
FORTY-FIVE value of the property
involved in transaction; up
to five years supervised
release; $100 special
assessment.
18 U.S.C. § 2323
21 U.S.C. § 853 FORFEITURE Trafficking in Forfeiture of listed property
28 U.S.C. § 2461(c) Counterfeit Devices
18 U.S.C. § 981(a)(1)(C)
18 U.S.C. § 982(a)(1) FORFEITURE Money Laundering | Forfeiture of listed property
28 U.S.C. § 2461(c) Forfeiture
18 U.S.C. § 981(a)(1)(C) Mail and Wire Fraud
28 U.S.C. § 2461(c) FORFEITURE Forfeiture Forfeiture of listed property
Fungible Property
18 U.S.C. § 984 FORFEITURE Forfeiture Forfeiture of listed property
Date: 05 | iM11g Assistant U.S. Attorney: Katherine Horwitza df
QS

Telephone No.:

208-334-1211

 

 

 
 

JUVENILE:

 

DEFENDANT’S NAME: DAVID BIBIKOV
DEFENSE ATTORNEY:
Address: PUBLIC or SEALED: Public
SERVICE TYPE: Notice
(Summons or Warrant or
Notice (if Superseding))
Telephone No.: ISSUE:
INVESTIGATIVE AGENT; Christopher Sheehan, INTERPRETER:
Special Agent, FBI
Telephone No.: If YES, language: |
AGENCY:
CASE INFORMATION: RELATED COMPLAINT:
Conspiracy to Traffic in Counterfeit Goods; Wire Fraud, CASE NUMBER: 1:18-cr-00258-BLW
Mail Fraud; Money Laundering Conspiracy.

 

 

 

CHARGING DOCUMENT: Superseding Indictment
Felony: Yes
Class A Misdemeanor:

Class B or C Misdemeanor:
(Petty Offense)

 

   
 
   

18 U.S.C. § 1349

   
 
 

Conspiracy to Commit

U.S. COURTS

STEPHEN W. KENYON
GLERK, DISTRICT OF IDAHO
County of Offense: Ada County

Estimated Trial Time: Fifteen days

  

 

 

 

 

Up to 20 years
imprisonment; up to
$250,000 fine; up to five
years supervised release;
$100 special assessment

Wire Fraud

 

18 U.S.C. § 1343 NINE

18 U.S.C. §2

Up to 20 years
imprisonment; up to
$250,000 fine; up to five
years supervised release;
$100 special assessment

Wire Fraud

 

18 U.S.C. § 1341 EIGHTEEN

Up to 20 years
imprisonment; up to
$250,000 fine; up to five
years supervised release;
$100 special assessment

Mail Fraud

 

18 U.S.C. § 2320(a), (b)(1),| TWENTY

(f)(1)

 

 

 

Conspiracy to Traffic in
Counterfeit Goods

Up to 10 years
imprisonment; up to a
$5,000,000 fine; up to 3
years Supervised Release;

 

 

 

$100 Special Assessment

 
 

Up to 10 years

 

 

 

 

 

 

 

 

 

18 U.S.C. § 2320(a), (b)(1) | TWENTY-EIGHT Trafficking in imprisonment; up toa
Counterfeit devices $5,000,000 fine; up to 3
TWENTY-NINE years Supervised Release;
$100 Special Assessment
. Up to 20 years
18 U.S.C. § 1956(h) THIRTY-FIVE Money Laundering . . :
Conspirac imprisonment; up to a
piracy $500,000 fine or twice the
value of the property
involved in transaction; up
to five years supervised
release; $100 special
assessment.
18 U.S.C. § 2323
21 U.S.C. § 853 FORFEITURE Trafficking in Forfeiture of listed property
28 U.S.C. § 2461(c) Counterfeit Devices
18 U.S.C. § 981(a)(1)(C)
18 U.S.C. § 982(a)(1) FORFEITURE Money Laundering Forfeiture of listed property
28 U.S.C. § 2461(c) Forfeiture
18 U.S.C. § 981(a)(1)(C) Mail and Wire Fraud
28 U.S.C. § 2461(c) FORFEITURE Forfeiture Forfeiture of listed property
Fungible Property
18 U.S.C. § 984 FORFEITURE Forfeiture Forfeiture of listed property

 

Date O% Wwaliq

Telephone No.:

Assistant U.S. Attorney: Katherine Horwitnlh
208-334-1211

 

 

 
 

DEFENDANT’S NAME: ANNA IYERUSALIMETS JUVENILE:

DEFENSE ATTORNEY:
Address: PUBLIC or SEALED: Public

SERVICE TYPE: Notice
(Summons or Warrant or
Notice (if Superseding))

 

Telephone No.: ISSUE:
INVESTIGATIVE AGENT: Christopher Sheehan, INTERPRETER:
Special Agent, FBI
Telephone No.: If YES, language:
AGENCY:

CASE INFORMATION: RELATED COMPLAIN].S, COURTS
Conspiracy to Traffic in Counterfeit Goods; Wire Fraud; CASE NUMBER:
Mail Fraud; Money Laundering Conspiracy. MAY 15 2019

 

 

 

 

 

CHARGING DOCUMENT: Superseding Indictment

Felony: Yes County of Offense: Ada County
Class A Misdemeanor: Estimated Trial Time: Fifteen days

 

 

Class B or C Misdemeanor:
(Petty Offense)

 

 

  
 
   

Up to 20 years

18 U.S.C. § 1349 ONE Conspiracy to Commit |imprisonment; up to
Wire Fraud $250,000 fine; up to five

years supervised release;
$100 special assessment
Up to 20 years

18 U.S.C. § 1343 THREE Wire Fraud imprisonment; up to
$250,000 fine; up to five
years supervised release;
$100 special assessment
Up to 20 years

18 U.S.C. § 1341 TWELVE Mail Fraud imprisonment; $250,000
fine; up to five years
supervised release; $100
special assessment

 

 

 

Up to 10 years
18 U.S.C. § 2320(a), (b)(1), TWENTY Conspiracy to Traffic in | imprisonment; up to a
(HC) Counterfeit Goods $5,000,000 fine; up to 3

years Supervised Release;
$100 Special Assessment

 

 

 

 

 

 

 
 

18 U.S.C. § 2320(a), (b)(1)

TWENTY-FIVE

Trafficking in
Counterfeit Goods

Up to 10 years
imprisonment; up to a
$5,000,000 fine; up to 3
years Supervised Release;
$100 Special Assessment

 

18 U.S.C. § 1956(h)

THIRTY-FIVE

Money Laundering

Up to 20 years
imprisonment; up toa
$500,000 fine or twice the
value of the property

 

 

 

 

 

 

 

 

 

Conspiracy involved in transaction; up
to five years supervised
release; $100 special
assessment.

Up to 20 years
imprisonment; up to a
18 U.S.C. § 1956(a)(1)(B)(i)_ | FORT Y-EIGHT Money Laundering _| $500,000 fine or twice the
18 U.S.C. § 2 FIFTY-ONE value of the property
involved in transaction; up
to five years supervised
release; $100 special
assessment.
18 U.S.C. § 2323
21 U.S.C. § 853 FORFEITURE Trafficking in Forfeiture of listed property
28 U.S.C. § 2461(c) Counterfeit Devices
18 U.S.C. § 981(a)(1)(C)
18 U.S.C. § 982(a)(1) FORFEITURE Money Laundering __| Forfeiture of listed property
28 U.S.C. § 2461(c) Forfeiture
18 U.S.C. § 981(a)(I)(C) Mail and Wire Fraud
28 U.S.C. § 2461(c) FORFEITURE Forfeiture Forfeiture of listed property
Fungible Property
18 U.S.C. § 984 FORFEITURE Forfeiture Forfeiture of listed property

 

Date: 0a\ \U lic

Assistant U.S. Attorney:

Katherine Horwitz
Telephone No.: 208-334-1211

 

 
 

 

 

 

, MIKHAIL
DEFENDANT’S NAME: IYERUSALIMETS JUVENILE:
DEFENSE ATTORNEY:
Address: PUBLIC or SEALED: Public
SERVICE TYPE: Notice
(Summons or Warrant or
Notice (if Superseding))
Telephone No.: ISSUE:
INVESTIGATIVE AGENT; Christopher Sheehan, INTERPRETER:
Special Agent, FBI
Telephone No.: If YES, language:
AGENCY:
CASE INFORMATION: RELATED COMPLAINT:
Conspiracy to Traffic in Counterfeit Goods; Wire Fraud; CASE NUMBER: 1:18-cr-00258-BLW
Mail Fraud; Money Laundering Conspiracy.
U.S. COURTS

 

 

 

 

CHARGING DOCUMENT: Superseding Indictment

Felony: Yes
Class A Misdemeanor:

Class B or C Misdemeanor:
(Petty Offense)

Revd

Ada CEERI DISTRICT OF IDAHC

im
STEPHEN W. KENYON

County of Offense:
Estimated Trial Time:

 

Fifteen days

 

 

 

18 U.S.C. § 1349 ONE

Up to 20 years
imprisonment; up to
$250,000 fine; up to five
years supervised release;
$100 special assessment

Wire Fraud Conspiracy

 

18 U.S.C. § 1343 TWO
18 U.S.C. § 2

THREE

Up to 20 years
imprisonment; up to
$250,000 fine; up to five
years supervised release;
$100 special assessment

Wire Fraud

 

ELEVEN
18 U.S.C. § 1341
TWELVE

Up to 20 years
imprisonment; up to
$250,000 fine; up to five
years supervised release;
$100 special assessment

Mail Fraud

 

 

18 U.S.C. § 2320(a), (b)(1), TWENTY

 

 

Up to 10 years
imprisonment; up to a
$5,000,000 fine; up to 3
years Supervised Release;
$100 Special Assessment

Conspiracy to Traffic in
Counterfeit Goods

 

 

 

 

 

 
 

Up to 10 years

 

 

 

 

 

 

 

 

 

 

18 U.S.C. § 2320(a), (b)(1) | TWENTY-FIVE Trafficking in imprisonment; up to a
Counterfeit Goods $5,000,000 fine; up to 3
TWENTY-SIX years Supervised Release;
$100 Special Assessment
Up to 20 years
imprisonment; up to a
$500,000 fine or twice the
18 U.S.C. § 1956(h) THIRTY-FIVE Money Laundering __| value of the property
Conspiracy involved in transaction; up
to five years supervised
release; $100 special
assessment,
Up to 20 years
imprisonment; up to a
18 U.S.C. § 1956(a)(1)(B)i) | FORTY-NINE Money Laundering _| $500,000 fine or twice the
18 U.S.C. § 2 FIFTY value of the property
FIFTY-ONE involved in transaction; up
to five years supervised
release; $100 special
assessment.
18 U.S.C. § 2323
21 U.S.C. § 853 FORFEITURE Trafficking in Forfeiture of listed property
28 U.S.C. § 2461(c) Counterfeit Devices
18 U.S.C. § 981(a)(1)(C)
18 U.S.C. § 982(a)(1) FORFEITURE Money Laundering _| Forfeiture of listed property
28 U.S.C. § 2461(c) Forfeiture
18 U.S.C. § 981(a)(1)(C) FORFEITURE | Mail and Wire Fraud
28 U.S.C. § 2461(c) Forfeiture Forfeiture of listed property
Fungible Property
18 U.S.C. § 984 FORFEITURE Forfeiture Forfeiture of listed property

 

Date: PAM | IF

Assistant U.S. Attorney: Katherine Horwitz

Telephone No.: 208-334-1211

 

 

 
 

 

 

 

DEFENDANT’S NAME: ARTUR PUPKO JUVENILE:
DEFENSE ATTORNEY:
Address: PUBLIC or SEALED: Public
SERVICE TYPE: Notice
(Summons or Warrant or
Notice (if Superseding))
Telephone No.: ISSUE:
INVESTIGATIVE AGENT; Christopher Sheehan, INTERPRETER:
Special Agent, FBI
Telephone No.: If YES, language:
AGENCY:
CASE INFORMATION: RELATED COMPLAINT:
Conspiracy to Traffic in Counterfeit Goods; Wire Fraud; CASE NUMBER:
Mail Fraud; Money Laundering Conspiracy. U.S. COURTS

 

 

Felony: Yes

Class A Misdemeanor:

Class B or C Misdemeanor:
(Petty Offense)

 

 

18 U.S.C. § 1349 ONE

CHARGING DOCUMENT: Superseding Indictment

 
 

 

County of Offense: Ada County

Estimated inl Fifteen days

Tim

Wire Fraud
Conspiracy

'W. KENYON 1
CLERK, DISTRICT OF DANG

   

Poe

 

 

 

Up to 20 years
imprisonment; up to
$250,000 fine; up to five
years supervised release;
$100 special assessment

 

  

 

FIVE
SEVEN
EIGHT

18 U.S.C. § 1343
18 U.S.C. § 2

Wire Fraud

Up to 20 years
imprisonment; up to
$250,000 fine; up to five
years supervised release;
$100 special assessment

 

FOURTEEN
SIXTEEN
SEVENTEEN

18 U.S.C. § 1341

Mail Fraud

Up to 20 years
imprisonment; up to
$250,000 fine; up to five
years supervised release;
$100 special assessment

 

18 U.S.C. § 2320(a), (b)(1), TWENTY

())

 

 

 

Conspiracy to
Traffic in
Counterfeit Goods

 

Up to 10 years
imprisonment; up to a
$5,000,000 fine; up to 3
years Supervised Release;
$100 Special Assessment

 

 

 
 

Up to 10 years

 

 

 

 

 

 

 

 

 

18 U.S.C. § 2320(a), (b)(1) THIRTY-ONE Trafficking in imprisonment; up to a
THIRTY-TWO Counterfeit Goods | $5,000,000 fine; up to 3
THIRTY-THREE years Supervised Release;
$100 Special Assessment
Up to 20 years
imprisonment; up to a
18 U.S.C. § 1956(h) THIRTY-FIVE | Money Laundering | $500,000 fine or twice the
Conspiracy value of the property
involved in transaction; up
to five years supervised
release; $100 special
assessment.
18 U.S.C. § 2323
21 U.S.C. § 853 FORFEITURE Trafficking in Forfeiture of listed property
28 U.S.C. § 2461(c) Counterfeit Devices
18 U.S.C. § 981(a)(1)(C)
18 U.S.C. § 982(a)(1) FORFEITURE | Money Laundering | Forfeiture of listed property
28 U.S.C. § 2461(c) Forfeiture
18 U.S.C. § 981(a)(1)(C) Mail and Wire
28 U.S.C. § 2461(c) FORFEITURE Fraud Forfeiture | Forfeiture of listed property
Fungible Property
18 U.S.C. § 984 FORFEITURE Forfeiture Forfeiture of listed property

 

Date: (| \q | 1G

Assistant U.S. Attorney: Katherine Horwit{ \,

 

Telephone No.:

 

 

 
